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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ERIC PASSMAN, et al.,                                        :
                                              Plaintiffs, :
                                                              :       19 Civ. 11711 (LGS)
                            -against-                         :
                                                              :
 PELOTON INTERACTIVE, INC.,                                   :             ORDER
                                              Defendant. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, a conference was held on May 20, 2025. As discussed at the conference, it

is hereby

          ORDERED that Plaintiffs shall file an amended complaint by June 27, 2025. It is

further

          ORDERED that within one week of filing of the amended complaint, the parties shall

file a joint letter proposing next steps. Should the parties be unable to reach agreement, the

letter shall state each party’s position.

Dated: May 21, 2025
       New York, New York
